Case 2:17-cV-O4849-I\/|SG Document 1-1 Filed 10/26/17 Page 1 of 23

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 

DANIELA SMITH, as co-personal representative of

the Estate of SABATINO CANCELLIERE

2351 High Road

Huntingdon Valley, Pennsylvania 19006 :

and : CIVIL ACTION NO.
MARIANNA SELLECHIA as eo-personal '

representative of the Estate of SABATlNO

CANCELLIERE

2286 Pine Road

Huntingdon Valley, Pennsylvania 19006

Plaintiffs,
v.

ERNESTO REYNA

60 Hoffn'tan Road

Ellington, Conneeticut 06029

and

SUPREME AUTO TRANSPORT, INC.
7300 Miller Place, Suite B

Longmont, Colorado 80504

Defendants.

 

NOTICE OF REMOVAL

TO: CLERK OF THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

United States Distriet Court for the Eastern District of Pennsylvania
United States Cotu'thouse

601 Market Street
Philadelphia, PA 19106

Pursuant to 28 U.S.C. §§ 1332, 1441, and 1446, Defendants Ernesto Reyna and Supreme
Auto Transport, lnc. (“Defendants”), by and through their undersigned counsel, hereby give

notice of removal of this action from the Court of Common Pleas for Philadelphia County,

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Pennsylvania, Civil Law Division, styled and numbered Daniela Smirh, er al. v. Ernesro Reyna,
et al., Case No. 1?1000080, to the United States District Court for the Eastern District of
Pennsylvania. As set forth more fully below, the case is properly removed to this Court pursuant
to 28 U.S.C. § 1441 because Defendants satisfy the procedural requirements for removal under
28 U.S.C. § 1446. This Court has subject matterjurisdiction over this action pursuant to 28
U.S.C. § 1332. ln support of removal, Defendants aver:
THE STATE COURT ACTION

l. On or about September 29, 201?, Plaintiffs Daniela Smith and Marianna
Sellechia (“Plaintitts") commenced this action against Defendants by filing a Summons in the
Court of Common Pleas of Philadelphia County (the “State Court Action”). A true and correct
copy of the Praecipe to lssue Writ of Summons, Writ of Sumrnons, and Summons is attached
hereto collectively as Exhibit A.

2. On or about October 6, 201?, Plaintiffs served the Surnrnons via Certitied Mail
upon Suprerne Auto Transport, Inc.

3. On 0ctober 9, 201?, Defendants filed a Praecipe for Rule to File Complaint.
See Praecipe, attached hereto as Exhibit B.

4, On or about October 19, 201?', Plaintiffs filed their Cornplaint.

5. Plaintiff Daniela Smith is an individual who resides at 2351 High Road
I-luntingdon Valley, Pennsylvania 19006. See Complaint,1l 1, attached hereto as Exhibit C.

6. Plaintif`f Marianna Sellechia is an individual who resides at 2286 Pine Road
Huntingdon Val]ey, Pennsylvania 19006. See fd.

7. Plaintiffs’ Complaint arises from a motor vehicle accident that occurred at or
near the 9100 block of Roosevelt Boulevard in Philadelphia, Pennsylvania on October 23, 2015

involving Det`endant Reyna and decedent Sabatino Cancelliere. Id., 1111 7-]3.

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8. Plaintifl`s contend that Mr. Cancelliere passed away the following day, October
24, 2015, as a result ofthis motor vehicle incident. Id., 11 13.

9. Plaintiffs bring counts against Defendants under Pennsylvania Survivor’s Act,
42 Pa. C.S.A § 8301, and Pennsylvania Wrongful Death Act, 42 Pa. C.S.A § 8302. Id., Counts l
and ll.

DIVERSITY .]URISDICTION

10. Under 28 U.S.C. § l332(a)(l), “[t]he district courts shall have original

jurisdiction of all civil actions Where the matter in controversy exceeds the sum or value of

$?5,000, exclusive of interest and eosts, and is between_citizens of different States.”

ll. This action satisfies the complete diversity of citizenship requirement of 28

u.s.c. § 1332(3)(1).

12. Plaintiffs are individuals who reside in and are therefore citizens of the
Cornmonwealth of Pennsylvania. See Compl., 11 1.

13. Defendant Reyna resides at 60 Hoffman Road Ellington, Connecticut 06029.
See fd. 112. He is therefore a citizen of the State of Connecticut.

14. A corporation is a citizen of the state in Whieh it is incorporated and in which it
maintains its principle place of businessl 28 U.S.C. § 1332(0).

15. At all relevant times, Defendant Supreme Auto Transport, Inc. was and is an
Oklahorna corporation with its principal place of business in Longmont, Colorado. See Cornpl.,
11 3. Therefore, for diversity purposes, Suprerne Auto Transport, Inc. is a citizen of the States of

Oklahoma and Colorado.

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16. Complete diversity exists where Plaintiffs are citizens of the Commonwealth of
Pennsylvania, Defendant Reyna is a citizen of the State of` Connecticut, and Defendant Supreme
Auto Transport, Inc. is a citizen of the States of Oklahoma and Colorado.

17. This action also satisfies the amount in controversy requirement of 28 U.S.C.
§1332(a)(l). Defendants dispute that they are liable for any amount whatsoever related to the
matter in controversy; however, based on Plaintiffs’ allegations concerning the claimed damages,
which allegedly arise out of the Pennsylvania Survivor’s Act and Pennsylvania Wrongful Death
Aet, it is believed, and therefore averred, that the amount in controversy exceeds $?5,000,
exclusive of interests and costs. See Compl. 1111 21, 22, 29-31.

18. Accordingly, the United States District Court has original jurisdiction over this

action pursuant to 28 U.S.C. § 1332.

REMOVAL JURISDICTION

19. Plaintiff`s filed this action in the Court of Common Pleas of Philadelphia County.
The Eastern District of Pennsylvania is the judicial district embracing Philadelphia County, the
place where the state court action was brought, and, therefore, is the proper district court to

which this case should be removed. See 28 U.S.C. §§ l44l(a), l446(a).

20. According to Section l446(b), “[t]he notice of removal of a civil action or
proceeding shall be filed within 30 days after the receipt by the defendant, through service or
otherwise, of`a copy of the initial pleading setting forth the claim for relief upon which such

action or proceeding is based[.]” 28 U.S.C. § l446(b).

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Case 2:17-cV-O4849-I\/|SG Document 1-1 Filed 10/26/17 Page 5 of 23

21. Plaintif`fs filed their Complaint electronically, and it was received by Defendants
through undersigned counsel, on October 19, 201?. Therefore, pursuant to § l446(b), this
removal is timely because 30 days have not elapsed from the date of receipt of the Complaint.

22. Pursuant to Section 1446(3), Defendants are simultaneously filing with this
Notice of Removal copies of all process, pleadings, orders, and other papers or exhibits of every
kind existing on file in the Court of Common Pleas of Philadelphia County, in this removed
action. See 28 U.S.C. § l446(a).

23. Further, pursuant to Section l446(d), Defendants will file a true and correct
copy of this Notice of Removal with the Clerk of the Court of Common Pleas of Philadelphia
County. See 28 U.S.C. § l446(d).

24. Defendants reserve the right to raise all defenses and objections in this action
after the action is removed to this Court.

WHEREFORE, Defendants Ernesto Reyna and Supreme Auto Transport, Inc.
respectfully request that the above-described action pending against them in the Court of
Comrnon Pleas of Philadelphia County, Pennsylvania, be removed to the United States District

Court for the Eastern District of Pennsylvania

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1 fe C§a"‘

Paul K. Leary, Jr., Esquire
Dylan M. Alper, Esquire

One Liberty Place

1650 Market Street, Suite 2800
Philadelphia, PA 19103

(215) 665~2000

 

Dated: October 26, 201?` Ar£orneys for Defendants

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Case 2:17-cV-O4849-I\/|SG Document 1-1 Filed 10/26/17 Page 6 of 23

CERTIFICATE OF SERVICE
I, Paul K. Leary, Jr., hereby certify that on October 26, 2017, l served a copy of the

foregoing Notice of Removal on the following via U.S. mail, postage pre-paid:

Timothy R. Hough, Esq.
JAFFE & I--IOUGH
Two Penn Center, Suite 1907
1500 JFK Blvd.
Philadelphia, PA 19102
Attorneys for Pfat`ntif}fs

crack

Paul K. Leary, Jr.

 

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Exhibit A

 

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Case 2:17-cV-O4849-I\/|SG Document 1-1 Filed 10/26/17 Page 8 of 23

Court of Cominoii Pleas of Philadelphia County
Trial Division

Civil Cover Sheet
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` DANIELA SMITH

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HUNTINGDON VALLEY PP. 19006

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MARIANNA SELLECHIA

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SUPREME AUTO TRANBPGRTATION INC. i

DEFEN DNil`l"8 ADDRESS
1300 i‘lILLER PLACE SUITE E

LDNGMONT CO 8 050 fl

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'roTHsPRorHoNoTARY:'

l Kii'ii.tly enter my appearance on behalf oi` PlaintifffPetitionei'i'Appe|lantz

Papers may be served at the address set forth below.

DANIELA SM].`TH , MRF.IANNA SELLECHIA

| NI;.ME oF FLA|NTIFF'S|;E"`-l-'-lo~ER'S»'AFFELLANTB A"ORNEY - ADURESS
TIMOTHY ph HOUGH TWO PENN CBNTER, SUITE 1991 l
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TIMOTHY HOUGH

PHILADELPHIA PA 19102 ,

E-MML ADDRESS

jafhough@aol.com

mrs suaitiri'rao
Friday, Septerriber 29, 201?, 05:¢10 pm

F|NAL COF'Y {Approved by the Prothoriolary C|erl<]

Case 2:17-cV-O4849-I\/|SG Document 1-1 Filed 10/26/17 Page 9 of 23

     
 

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JAFFE Bi HOUGH -"- - ~ - `
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PHILADELPHlA. PA 19102 "*
(215) 564-5200 ATI'ORNE‘( FOR PLA|NT\FFS
DAN|ELA SM|TH as co-parsonal representative : COURT OF COMMON PLEAS
of the Estate of SABATIND CANCELL|ERE : PH|LADELPH|A COUNTY
2351 ngl'i Roiad '. CN|L DNIS|ON
Huntingdon Valley, Pennsylvania 19008 :
and :
MAR|ANNA SELLECH|A as cci-personal representative.:
of the Es\atia of SABAT!NO CANCELLIERE :
2286 Pine Road :
Huntingdon Valley, Pennsylvania 19006 : SEPTEMBER TERN|, 2017
v. : NO.:
ERNESTO REYNA :
60 Hoffman Road :
El|tngton, Connectlcut 06029 : JUR¥ TR|AL DEMANDED
and :

SUPREME AUTD TRANSPORT INC.
7300 Nllller Plaoe, Suite B
Lorigmont. Colorado 80504

PRAE lP T ISSUE WRIT OF SUMliH NS
MCTO VE ICLEACCIDENT

TO THE PROTHONOTARY:
Kiridty issue a Writ of Summons - C‘i\it| Actlon, to the defendants in the above mattar.
JAFFE & HOUGH

  
     

By:
Tl Y R. HOUGH. ESQ.
Attomey for Plaintitfa

Case ID: 171000080

Case 2:17-cV-O4849-I\/|SG Document 1-1 Filed 10/26/17 Page 10 of 23
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Citwion

Commonwealth of Pennsylvania
COUNTY OF PHILADELPH]A

UMW“EMMPWWUIWEM$WWWCEJJEFLI|[\ : COIIRT OF CONMON PLEAS
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am §§ sEPTEMaERTm! 20 i'r

vs.
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EnNEsTo nEYNA and suPREME soto TRANSPORT iNc.
Defendant

 

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ERNESTO REYNA and
SUPREME AUTO TRANSPORT lNC.

 

 

 

Writ of Sumrncns

You are notified that the Pla`intit`fa
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DANlELA SMITH and MAR|ANNA SELL,ECHIA as cio-personal representatives of the Eslata cl SABATlNO CANCELLIERE

 

 

 

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Case 2:17-cV-O4849-I\/|SG Document 1-1 Filed 10/26/17 Page 11 of 23

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Exhibit B

 

 

 

Case 2:17-cv-O4849-|\/|SG Document 1-1 Filed 10/26/17 Page 13 of 23

COZEN O’CONNOR

By: Paul K. Leary, .lr., Esquire
ldentification No.: 85402
Dylan M. Alper, Esqtiire
ldentil'lcation No.: 313710
One Liberty Place

1650 Market Street
Philadelphia, PA 19103

T: 215-665-2000

F: 215-?01-2011

Ai!oi neys for Defendants l
Ernesto Reyna and .-.'-.'"-*§““'F..= -:

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DANIELA SMITH as eo-personal representative
of the Estate of SABATiNo CANCi-:LLiEitE and
MARIANNA SELLECHIA as cti-personal
representative ot` the Estate of SABAT[NO
CANCELLIERE,

Plaintit`fs,
v.

ERNESTO REYNA and
SUPREME AUTO TRANSPORT, lNC.,

Defendants

 

PHlLADELPHIA COUNTY
COURT OF COMMON PLEAS
CIVIL DIVISION

OCTOBER TERM, 201 'F

NO. 00080

PRAECIPE FOR RULE TO FILE COMPLAINT

TO THE PROTl'lONOTARY:

Pursuant to Pa. R. Civ. P. 1037(a), kindly enter a Rule upon Plaintiffs to file a Coniplaint

within twenty (20) days hereofor suffer the entry ofa Judgment ofNon Pros.

Respectfully Submitted,

COZEN O’CONNOR

BY:

Dated: October 9, 201?

LEGAL\JZS'FUEZ&\|

/s/ Paul K. Leai‘i»'. Jr.

Paul K. Leary, Jr., Esquire
Dy!i:tn M. A{per
A!rorneysfor Defendants

Case lD: 171000080

Case 2:17-cv-O4849-|\/|SG Document 1-1 Filed 10/26/17 Page 14 of 23

 

DANIELA SM|TH as co-personal representative
of the Estate of SABATiNo CANCELLIERE and
MAR|ANNA SELLECHIA as cti-personal
representative of the Estate of SABATINO
CANCELI.[ERE,

 

PHII_.ADELPHIA COUNTY
COURT OF COMMON PLEAS
ClVll_. DlVISION

OCTOBER TERM, 2017

 

Plaintiffs,
NO. 00080
v.
ERNESTO REYNA and
SUPREME AUTO TRAN SPORT_. lNC.,
Defendants
RULE TO F[LE COMPLAINT
AND NOW, this day of , 20_, a Ru|e is hereby granted upon

Plaintiffs to file a Complaint herein within 20 days after service hereof or suffer the entry ofa

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Prothonotary

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Case 2:17-cv-O4849-|\/|SG Document 1-1 Filed 10/26/17 Page 15 of 23

CERTIFICATE OF SERVICE

l hereby certify that on October 9, 201?', 1 served a copy of the foregoing Praecipe for

Rule to Fi|e Complaint via the court’s electronic filing system on all counsel of record.

/S/ Pain' K. Leary, .fr.
Paul K. Leary, Jr.

LEGM»\S?S?OM\' Case ID: 171000080

 

 

 

 

 

 

Exhibit C

 

 

 

 

 

 

 

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COMPLA|NT AHD NOTlCE ARE SERVED. BY ENTERING A WR!TTEN
APPE.ARANCE FERSDNALL¥ OR BY ATTORNEY AND Fll_lNG 114
WRlTlNG WlTH THE CCURT ‘i"'OUR DEFENSES OR OBJ ECT|ONS TO
THE CLAIMS SET FORTH AGAENST YOU. YOU AF{E WARNED THAT
lF YOU FAi!. TB DG 50 THE CASE MAY PROCEED WITHOUT ‘|'OU
AND A JUDGMENT MAY BE ENTERED AGA|NST YDU BY THE CCIU'RT
WTTHDUT FURTHER NOT|CE FOR ANY MONEY CLNMED lN THE
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Case 2:17-cv-O4849-|\/|SG Document 1-1

TlNlOTHY HOUGH, ESQUIRE
lDENTlFlCATlON NO. 40898

JAFFE & HOUGH

TWO PENN CENTER PLAZA, SUlTE 1907
15TH STREET & JOHN F. KENNEDY BLVD.
PHlLADELPHlA, PA 19102

(2‘15) 564»5200

DAN|ELA SMITH as the co-perecna| representative
cf the Estate of SABAT|NO CANCELL|ERE

2351 High Roacl

Huntingdon Valley, PA 19006

and

NIAR|ANNA SELLECH|A as the cci-personal
representative of the Estata

of SABAT|NO CANCELL|ERE

2286 Pine Road

Huntingdcn Valtey, PA 19006

v_

ERNESTO RE\’NA

60 Hoffman Road

El|ington. CT 06029

and

SUPREN|E AUTO TRANRPORT INC.
7300 Miller Place, Suite B

Lcngmont, CO 80504

Filed 10/26/17 Page 17 of 23

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A`|'TORNEY FOR PLAINTIFFS

: COURT OF COMMON PLEAS
; PH|LADELPH|A COUNTY

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`; ocTc>BER 2017 TERM
'. NO.: 0080

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COMPLAINT ~ CN|L ACT|ON
MOTOR VEH.'CLE ACCIDENT

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DAYS AFTER THE

YOU SHOULD TAKE THlS PAPER TD YDUR LAWYER A`F ONCE. |F
YOU DO NUT HAVE A LAWYER OR CANNOT AFFORD ONE, 60 TU
OR TELEPHDNE THE OFF|CE SET FORTH BELOW TO F|ND OUT
WHERE YOU CAN GET LEGAL HELP, THER DFFiCE CAN PRDViDE
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UNO READ!NG CENT‘RO
FlLADELF\A, PA 1910?

(215} 238-5333
TT'I' (215} 451-519?

Casc iD: 171000080

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Case 2:17-cv-O4849-|\/|SG Document 1-1 Filed 10/26/17 Page 18 of 23

_ Plaintiffs are DANIELA SMITH and MAREANNA SELLECH|A, individually and in their

capacity as co-personal representatives of THE ESTATE OF SABAT|NO
CANCELL|ERE. with Nis Smith residing at 2351 High Road, Huntingdon Va|ley1
Pennsylvania, 19006 and Nle Sellecchhie residing at 2286 Pine Road, in l-luntingdon
Val|ey, Pennsylvania. 19006.

Defendant is ERNESTO REYNA, an adult individual residing at 60 Hofiman Roed in
Eiiington, Connecticut, 80504.

Defendant is also SUPREME AUTO TRANSPORTATION, INC, a business corporation
with a registered address of ?300 l'vliller Place1 Suite B1 in Longmont, Colorado. 80504.
This action le commenced under the Pennsylvania Survivor's Act, 42 Pa. C.S.A. § 8301
and the Pennsylvania Wrongful Death Act, 42 Pa. C.S.A. § 8302.

No action was commended by the Decedent on the matters at issue in this suit during
his lifetime

The class of persons legally entitled to recover damages under the Pennsylvania
Wrongtul Death Act is limited to the Pleintlffe in this actionl

On or about October 23. 2015 at approximately 5:40 a.m., Plalntiffs’ Deoedent was
lawfully operating his motor vehicie traveling northbound in the far right travel lane of the
Rooeevolt Boulevard in the 9100 block just south of its intersection with Goodnaw Street
in Philadelphia, PA.

On October 23. 2015 Defendant Reyna was operating a car transcon carrier which he
parked just north of the Chapman Ford driveway, facing northbound in the 9300 Bloek
of Rooseve|t Boulevatd in Phi|ai:ie|phial Pennsylvania

At all times material hereto, the car transport carrier operated by Reyna was owned by
Defendant Supreme Auto Transportation, lnc.

At all times material hereto. Defendant Reyna was acting as the agent, servantl or

employee of Defendant Supreme Auto Transportatlon, inc.

Case ID: 171000080

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11. After arriving at the vicinity of the Chapman Ford driveway Defendant Reyna allowed his
vehicle to remain parked in the right travel lane for an extended period of time prior to
the collision referred to below.

12. After bringing his vehicle to a parked position Defendant Reyna left the cab of the car
transport carrier and entered the sleeper component of the vehicle.

13. At approximately 5:40am the Plaintiff's decedentl Sabatino Can celliere while driving
northbound in the right travel lane struck into and collided with the rear portion of the car
transport carrier and sustained injuries which led to his death on October 24, 2015.

14, The above-mentioned collision resulted from the carelessness and negligence of
Defendant Reyna, which included the following:

a) Al|owing his vehicle to become parked in a travel lane cfa major highway in a
no-parking zone;

b) Parking the sami-tractor trailer in location which was unsafe to other motorists,
including Plaint’rffs' Decedent;

c) Failing to move his vehicle to a location off of the Boulevard so as not to
constitute a hazard to motorists operating vehicles upon the roadway;

d) Failing to adequately post signs and signals south of his car transport carrier so
as to provide adequate warning to F'iaintift’s decedent of the obstruction created
within the travel lanes of the Boulevarcl.

e) Fai|ing to continuously maintain flasher signals on the car transport carrier while
parked in a no-parking zone;

f) Creating an obstruction upon the highway;

g) Violating Pennsylvania Motor Vehic|e Code § 3353.

15. The aforesaid collision resulted from the negligence of Defendant l=teynal and was due

in no manner whatsoever to any act or failure to act on the part of Piaintiffs' Decedent.

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COUNT l
SURV|VOR'S ACTlON

 

16. Plaintiffs are Daniela Srnith and Marianna Se|lechia, as co-representatives of the estate
of Sabatino Canceliiere.

17. Defendant is Ernesto Reyna.

18. Defendant is Supreme Auto Transportation. lnc.

19. Plaintlffs incorporate the allegations set forth in paragraphs 1 through 11 above as
though set forth fully here at length.

20. Plaintiffs bring this action under and pursuant to the Pennsylvania Survivor's Act, 42 Pa.
C.S.A. § 8302.

21. As a direct and proximate result of Defendant Reyna’s negligence. Plaintiffs' Decedent
suffered conscious pain and suffering up until the moment of his death.

22. As a direct and proximate result of Defendant Reyna’s negligencel P|aintlffs’ Decedent
suffered extreme emotional distress, and knowledge of impending doom, disaster and
death.

WHEREFORE, Plaintiffs demand judgment in their favor against Defendants for an amount

in excess of Fr'fty Thousand ($50,000.00) Do!iars.

COUNT ll
\NRONGFUL DEATH

 

23. Plaintiffs are Daniela Smith and Nlarianna Se|lechia, as rao-representatives of the estate
of Sabatino Cancel|iere.

24. Defendant is Ernesto Reyna.

25. Defendant is Supreme Auto Transportation. lnc.

26. Plaintiffs incorporate the allegations set forth in paragraphs 1 through 11 above as
though set forth fully here at length.

27. P|aintiffs bring this action under and pursuant to the Pennsylvania Wrongful Death Act,
42 Pa. C.S.A. § 8302.

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28. No prior action has been commenced upon the cause of action complained of by anyone
within the class referenced at 42 Pa. C.S.A. § 8302.

29. As a direct and proximate result of Defendant Reyna‘s negligencel Plaint'rlfs have
incurred funeral and burial expenses in the inte nnent of Plaintiffs' Decedent.

30, As a direct and proximate result of Defendant Reyna's negligencel Plaintlfis have
incurred expenses in their capacity as co~representatives of Plaintlffs’ Decedent‘s estate.

31 . As a direct and proximate result of Defendant Reyna’s negligence, Plaintiffs have
suffered damages and detriment in the loss of the pecuniary value of P|aintiffs'
Decedeni’s services and in the loss of his comfortl society and tutelage.

WHEREFORE, Plaintiffs demand judgment in their favor and against Defendants in an

amount in excess of Fr‘rty Thousand ($50,000.00) Doiiars.

JAFFE 8\ HOUGH

 
   

By:
T|MOTHY . HOUGH, ESQ.
Attomey for Piaintiffs

 

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VERIFICA TION

Tll'v‘lOTHY R. HOUGi-l, states that he is the attorney for Plaintiffs herein; that he is
acquainted with the facts set forth in the foregoing Compfaint;; that the same are true and
correct to the best of his knowiedge, information and belief; that he has been authorized to
make this verification by the Plaintiffs subject substitution of Plaintiffs’ original verihcation and
that this statement is made subject to the penalties of 18 Pa. C.S. 4904 relating to unsworn

falsification to authorities

 

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Attorney for Plaintiffs

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PHrLAoEr_Pr-rrA, PA19102

(215) 564-5200

DAN|ELA SlllllTH as the co-persona| representative
of the Estate of SABATINO CANCELL\ERE, et al

V.

ERNESTO REYNA, et al

ATTORNEY FOR PLAINTlFFS

1 COURT OF COMMON PLEAS
t PHILADELPHIA COUNTY

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§ ocTosER 2017 TERM
: NO.: 0080

CERT|FCATE OF SERVICE

ll Timothy R. Hough, Esq., attorney for the Plaintiffs above named, do hereby certify that

service of a true and correct copy of Plaintiffs' Compiaint was served upon the foliowing:

Paul. K. l.eary, .lr.l Esq.
Dylan M. Alper. Esq.
COZEN O'CONNOR
One Liberty Place
1650 N|arket Street
Philadelphia, PA 19103

Via. ECF notihcation upon approval of the court.

JAFFE & HOUGH

B!f

  

 

irrer Y R. Houcu, Eso.
Attorney for P|aintiffs

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